 Case 6:09-cv-01187-EFM-KMH Document 157 Filed 10/26/11 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


CESAR OBDULIO PAZ MALDONADO,                      )
et al.,                                           )
                                                  )
                      Plaintiffs,                 )
                                                  )
v.                                                )      Case No. 09-1187-EFM
                                                  )
UNION PACIFIC RAILROAD CO., et al.,               )
                                                  )
                      Defendants,                 )
                                                  )
                                                  )



                             MEMORANDUM AND ORDER


       On February 25, 2011, the undersigned judge granted defendants’ motion for a Rule

35 neurological examination of plaintiff in Kansas City, Missouri with certain conditions

(Doc. Nos. 74 and 88). Thereafter, plaintiff made himself available for the IME in Kansas

City but defendants’ neurological expert refused to comply with the court’s conditions and

the examination was canceled. Plaintiff, a citizen of Honduras, returned to his native country

after that cancellation.

       Questions concerning costs and plaintiff’s ability to appear in the United States

generated a second round of arguments concerning the Rule 35 neurological examination.

Asserting difficulty in returning to the United States, plaintiff argued that the examination

should be conducted in Honduras. Defendants argued that the examination should be
 Case 6:09-cv-01187-EFM-KMH Document 157 Filed 10/26/11 Page 2 of 4




conducted in the United States because plaintiff commenced this action in the United States.

On May 4, 2011, the court ordered plaintiff to appear in the United States for the

neurological examination and directed the parties to submit a proposed order “setting forth

the conditions, date, and time, consistent with the rulings in this case.” (Doc. 146, p. 10).

         The logistics of the examination raised additional issues and, at the request of counsel,

the court conducted a telephone conference on October 19, 2011 to address the location of

the examination in the United States and the payment of expenses. The arguments and

rulings are memorialized below.

         With respect to the location of the examination, defendants have secured the services

of a neurological expert willing to conduct the examination in Miami, Florida under the

conditions imposed by the court.1 Plaintiff counters that his “sponsor” for purposes of

entering the United States is located in Wichita, Kansas, the city where this case was filed.

Because his expenses will be materially higher if required to travel to Miami, plaintiff argues

that defendants should be ordered to pay his lodging and travel expenses as well as the travel

expenses for his sponsor. Defendants argue that they should not be burdened with paying

additional expenses because of plaintiff’s immigration issues and need for a sponsor in order

to legally appear in the United States.


     1

        The court ordered that the neurological examination be videotaped, a condition
that defendants’ original expert asserted would be unprofessional and a violation of
testing protocols. However, the videotaping of a neurological examination in the context
of litigation is apparently standard procedure in Florida and Florida doctors are willing to
conduct the neurological examination under the conditions imposed by this court.
                                               -2-
 Case 6:09-cv-01187-EFM-KMH Document 157 Filed 10/26/11 Page 3 of 4




         The court previously ruled that plaintiff was obligated to appear for examination in

the state of Kansas, the state in which he filed his lawsuit. (Doc. 74, p. 5). Neither party

presents any persuasive argument why the court should modify this ruling. Because

defendants selected an expert in Florida and seek permission to conduct the examination in

Florida, the court will require defendants to pay plaintiff’s lodging and transportation

expenses to Florida.2

         The expenses of plaintiff’s sponsor presents a closer question. However, it appears

that a sponsor is required for plaintiff to legally enter the United States and the sponsor’s

assistance is necessary for plaintiff’s appearance in Florida. If the examination were

scheduled in Wichita, Kansas, the sponsor would not incur travel and lodging expenses.

Equally important, plaintiff previously made himself available for a neurological examination

in Kansas City. Under the circumstances, plaintiff should not be required to pay for the

added expense of conducting the examination in Florida. After considering the totality of

the circumstances, the court will require defendants to pay the reasonable lodging and travel

expenses of plaintiff’s sponsor to Florida.



         IT IS THEREFORE ORDERED that plaintiff shall appear in Florida for a Rule 35

neurological examination. The parties shall confer concerning a mutually agreeable date and

submit a proposed order setting forth the conditions, date, and time, consistent with the

     2

     Plaintiff is responsible for paying his own lodging and travel expenses from
Honduras to the United States.
                                              -3-
 Case 6:09-cv-01187-EFM-KMH Document 157 Filed 10/26/11 Page 4 of 4




rulings in this case. The Florida examination is contingent upon defendants’ payment of the

travel and lodging expenses.

         IT IS FURTHER ORDERED that defendants shall pay the reasonable lodging and

transportation expenses for plaintiff and his sponsor to attend the neurological examination

in Florida.3

         IT IS SO ORDERED.

         Dated at Wichita, Kansas this 26th day of October 2011.

                                           S/ Karen M. Humphreys
                                           _______________________
                                           KAREN M. HUMPHREYS
                                           United States Magistrate Judge




     3

       The possibility exists that the United States may refuse to issue a visa for plaintiff
to enter this country. The court will address that situation when and if it occurs.

        Plaintiff will apparently seek legal entry on the border between Mexico and Texas.
The parties shall confer in good faith concerning a reasonable means of transportation and
cost from the point of entry to Florida. As previously noted, defendants are not
responsible for any costs until plaintiff enters the United States.
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